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                                       PROPOSED ORDER/COVER SHEET

 TO:           The Honorable Nandor J. Vadas                             RE:         William Mulligan
               U.S. Magistrate Court Judge

 FROM:         Claudette M. Silvera, Chief                               DOCKET NO.:          06-CR-00329-JSW
               U.S. Pretrial Services Officer


 DATE:         July 26, 2006

             THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

                         Richard Sarlatte                                  415-436-7508
                 U.S. Pretrial Officer Specialist                         TELEPHONE NUMBER

RE:     VIOLATION/INFORMATION

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so
that we may comply with your instructions.

        I have reviewed the information that you have supplied. I do not believe that this matter
        requires any action by this Court at this time.

        Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
         ___________________ on _____________________________ at ________________________.

        Inform all parties concerned that a Bail Review Hearing will be conducted by:
        Magistrate Judge_______________________ Presiding District Court
        Judge______________________
  X     I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
        Pretrial Release conditions as indicated below:

        Order(s)

        A.

        B.

 X      Bail Revoked/Bench Warrant Issued.

        I am returning the signed order and direct that a copy be provided to the Court file and all interested
        parties(AUSA and Defense Counsel).

        Other Instructions:




                                                                            8/9/06

        JUDICIAL OFFICER                                                    DATE

Cover Sheet (12/03/02)
